 1   LANE & NACH, P.C.
     2001 East Campbell Avenue
 2   Suite 103
     Phoenix, Arizona 85016
 3   Telephone No.: (602) 258-6000
     Facsimile No.: (602) 258-6003
 4   Stuart B. Rodgers – 025720
     Email: stuart.rodgers@lane-nach.com
 5
     Attorneys for Robert A. MacKenzie, Trustee
 6
                       IN THE UNITED STATES BANKRUPTCY COURT
 7
                               FOR THE DISTRICT OF ARIZONA
 8
     In re:                                          (Chapter 7 Case)
 9
     DAVID DEWAYNE THOMASON and                      No. 2:24-bk-00455-DPC
10   DIANE MARIE THOMASON,
                                                           NOTICE OF FRBP 2004
11                                                     EXAMINATION AND CERTIFICATE
                                                               OF SERVICE
12                  Debtors.
13
               YOU ARE HEREBY NOTIFIED that the examination of David Dewayne Thomason and
14
     Diane Marie Thomason will be taken pursuant to Fed.R.Bankr.P. 2004 telephonically on April
15
     24, 2024 at the hour of 10:00 a.m. at the offices of Lane & Nach, P.C., 2001 East Campbell
16
     Avenue, Suite 103, Phoenix, AZ 85016. Counsel for the Debtors shall initiate a call to Trustee’s
17
     attorney. 602-247-8590 PIN 223#.
18
               YOU ARE FURTHER NOTIFIED that the documents listed on Exhibit “A” to Order
19
     Requiring Production of Documents and Oral Examination (“Order”) shall be produced to the
20
     undersigned counsel on or before April 12, 2024. A complete copy of the signed Order is attached
21
     hereto.
22
               DATED: March 20, 2024
23
                                               LANE & NACH, P.C.
24

25
                                               By: /s/ Stuart B. Rodgers
26                                                 Stuart B. Rodgers
                                                   Attorneys for Trustee
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 1
 2                                  CERTIFICATE OF MAILING
 3          The undersigned hereby certifies that on March 20, 2024, a copy of the NOTICE OF
 4
     FRBP 2004 EXAMINATION was served by depositing a copy of the same in the U.S. mail, in
 5
     a postage prepaid envelope, addressed as follows:
 6

 7
     David Dewayne Thomason and
 8   Diane Marie Thomason
     4201 N. 155th Drive
 9   Goodyear, AZ 85395
     Debtors
10
     Thomas Adams McAvity
11   Phoenix Fresh Start Bankruptcy Attorneys
     4131 Main Street
12   Skokie, IL 60076
     Email: documents@phxfreshstart.com
13   Attorney for Debtors

14   By: /s/ Aimee Bourassa

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                                                                   SO ORDERED.


                                                                   Dated: March 18, 2024



 1
 2
                                                                   Daniel P. Collins, Bankruptcy Judge
 3                                                                 _________________________________

 4

 5                     IN THE UNITED STATES BANKRUPTCY COURT
 6                              FOR THE DISTRICT OF ARIZONA
 7   In re:                                              (Chapter 7 Case)
 8   DAVID DEWAYNE THOMASON and                          No. 2:24-bk-00455-DPC
     DIANE MARIE THOMASON,
 9                                                       ORDER GRANTING TRUSTEE’S
                     Debtors.                            APPLICATION FOR PRODUCTION OF
10                                                       DOCUMENTS AND ORAL
                                                         EXAMINATION PURSUANT TO
11                                                       F.R.B.P. 2004 (TELEPHONIC)
12

13
              This Court having considered the Application For Production of Documents and Oral
14
     Examination Pursuant to Federal Rule of Bankruptcy Procedure 2004 (“Application”) filed by
15
     Robert A. MacKenzie, Trustee and good cause having been established,
16            IT IS HEREBY ORDERED that David Dewayne Thomason and Diane Marie Thomason
17   (“Debtor”) shall produce the documents detailed in Exhibit "A" attached hereto, to Trustee's
18   attorneys, Lane & Nach, P.C., 2001 East Campbell, Suite 103, Phoenix, Arizona, and shall submit
19   to an oral examination under oath, telephonically on a date and time agreeable to the parties or, if
20   upon notice, after not less than 28 days’ notice.
21            IT IS FURTHER ORDERED approving Trustee’s calculation for compliance with

22   FRBP 2004(e) as set forth in Trustee’s Application.

23            IT IS FURTHER ORDERED that Robert A. MacKenzie, Trustee shall promptly serve
     this Order on Debtors and their attorneys and file a certificate of service therefor.
24

25                                   DATED AND SIGNED ABOVE
26
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    1                                               EXHIBIT “A”
    2
                1.      Provide an accounting of all distributions that the Debtors, or either Debtor
    3   invidually, have received any trusts within the past two yearts (such request includes, but is not
        limited to, the Gail I. Thomason Revocable Living Trust, the Dewayne Thomason Revocable
    4   Living Trust, and The Gail I. Thomason Family Trust). Such accounting shall include the dates of
        the distributions, the amounts of the distributions and documentation evidencing where the funds
    5   were deposited.
    6           2.       If either Gail I Thomason or Bual Dewayne Thomason have deceased, provide the
        date of death. If either (or both) are still living, provide their address.
    7
                 3.      Copies of all personal income tax returns (federal and state) for the 2023 income tax
    8   year.
    9          4.       Copies of any and all financial statements prepared by you or on your behalf, from
        and after for the two year period prior to the commencement of this case, including but not
  10    necessarily limited to those prepared for submission to lending institutions.
  11            5.      All titles, bills of sale or contracts of sale upon personal property for automobiles,
        boats, motorcycles, ATVs or aircraft belonging to you or in which you have had any interest
  12    whatsoever either alone or jointly with any other person or persons for the two year period prior to
        the Petition Date.
  13
               6.      Copies of the following pertaining to interests in real property in which you have or
  14    ever had a legal or beneficial interest at any time, from and after the two year period prior to the
        commencement of this case through the date of this Order.
  15
                         (a)     Deeds;
  16                     (b)     Contracts for the purchase or sale of real property;
                         (c)     Escrow instructions; and
  17                     (d)     Agreements for sale.
  18            7.    Copies of the original policy itself, or the following information for all life insurance
        policies owned by you:
  19
                         (a)     Name of insurance company;
  20                     (b)     Face amount of policy;
                         (c)     Cash surrender value;
  21                     (d)     Premiums;
                         (e)     Beneficiaries; and
  22                     (f)     Outstanding loans and balances.
  23            8.      Copies of all canceled checks, monthly bank statements and check registers on any
        and all investment, savings and checking accounts in your name alone or in connection with anyone
  24    else, including business accounts, for the one year period prior to the commencement of this case
        through the date of this Order.
  25
                9.      Provide an accounting of all “family support” you’ve received in the one year period
  26    prior to the Petition Date. Such accounting should include the dates the funds were advanced and
        the amounts of such support.
  27
               10.     Provide a transaction summary for any crypto currency transactions and/or
  28    statements from any cryptocurrency wallets and/or platforms. This request is for the one year period
      LANE & NACH, P.C.
      2001 East Campbell Avenue, #103
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    1   prior to the commencement of this case through the date of this Order.
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       LANE & NACH, P.C.                                 2
      2001 East Campbell Avenue, #103
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